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 1                                UNITED STATES DISTRICT COURT

 2                                        DISTRICT OF NEVADA

 3 Dane Patric Gee,                                          Case No.: 2:17-cv-02710-JAD-BNW

 4               Plaintiff                                  Order Dismissing Claims Against
                                                          Unnamed Defendants and Closing Case
 5 v.
                                                                        [ECF No. 50]
 6 Joe Lombardo, et al.,

 7               Defendants

 8             I recently granted summary judgment against pro se plaintiff Dane Patric Gee on his

 9 claim against Sheriff Joe Lombardo—the only named defendant in this case—because Gee failed

10 to exhaust his administrative remedies under the Prison Litigation Reform Act.1 In that order, I

11 explained that, while initially Gee was allowed to proceed on his claim against the unnamed

12 defendants after he learned their identities and substituted them into this case, the time to do so

13 had come to pass.2 Because he had not yet done so and discovery closed last year, I ordered Gee

14 to show cause by October 30, 2020, why his claims against the unnamed defendants should not

15 be dismissed.3 That deadline has passed and Gee has not complied with the order, so I dismiss

16 his claims against the unnamed defendants and close this case.

17             IT IS THEREFORE ORDERED that Gee’s claims against the unnamed defendants are

18 dismissed, and the Clerk of Court is directed to ENTER JUDGMENT accordingly and

19 CLOSE THIS CASE.

20                                                               _______________________________
                                                                 U.S. District Judge Jennifer A. Dorsey
21                                                                                   November 2, 2020

22   1
         ECF No. 50 (order granting summary judgment).
23   2
         Id. at 10.
     3
         Id.
